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 7                             UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 8
       TONY HONG, an individual,
 9                                                          Case No. 19-951
                           Plaintiff,
10                                                          COMPLAINT FOR:
                 v.
11                                                          1) COPYRIGHT INFRINGEMENT
       RECREATIONAL EQUIPMENT, INC., a                         (17 U.S.C. § 501);
12     Washington corporation, SAMUEL KRIEG,                2) FALSIFICATION OF
       an individual, d/b/a KRIEG CLIMBING                     COPYRIGHT MANAGEMENT
13     CYCLING, KRIEG USA, and DOES 1-10,                      INFORMATION (17 U.S.C. §
       inclusive,                                              1202(a));
14                                                          3) REMOVAL OF COPYRIGHT
                           Defendants.                         MANAGEMENT INFORMATION
15                                                             (17 U.S.C. § 1202(b))
16                                                          JURY DEMAND
17           Tony Hong (“Plaintiff” or “Hong”), by and through his undersigned attorneys , alleges as

18   follows for his Complaint against Recreational Equipment, Inc. (“REI”), Samuel Krieg, doing

19   business as Krieg Climbing Cycling and Krieg USA (“Krieg”), and Does 1-10 (collectively

20   “Defendants”):

21                                                PARTIES

22          1.        Tony Hong is a resident of Los Angeles, California.

23          2.        Plaintiff is informed and believes and, upon such, alleges that REI is a Washington

24   corporation with a principal place of business in Kent, Washington and is actively and regularly

25   doing business in the State of Washington and in this Judicial District with, among other things,

26   numerous retail locations.



     COMPLAINT - 1                                                              GOLDFARB & HUCK
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 1
            3.      Plaintiff is informed and believes and, upon such, alleges that Samuel Krieg is an
 2
     individual residing in Pocatello, Idaho and doing business as Krieg Climbing Cycling and Krieg
 3
     USA and is selling his products through, among other places, REI retail locations in the State of
 4
     Washington and this Judicial District.
 5
            4.      DOES 1 through 10, inclusive, are unknown to Plaintiff, who therefore sues said
 6
     Defendants by such fictitious names. Plaintiff will ask leave of Court to amend this Complaint and
 7
     insert the true names and capacities of said Defendants when the same have been ascertained.
 8
     Plaintiff is informed and believes and, upon such, alleges that each of the Defendants designated
 9
     herein as a “DOE” is legally responsible in some manner for the events and happenings herein
10
     alleged, and that Plaintiff’s damages as alleged herein were proximately caused by such
11
     Defendants.
12
                                      JURISDICTION AND VENUE
13
             5.     This is a civil action against Defendants for their acts of copyright infringement in
14
     violation of the United States Copyright Act, 17 U.S.C. §§ 101 et seq. and acts of falsification and
15
     removal of copyright management information in violation of 17 U.S.C. §1202. This Court has
16
     subject matter jurisdiction over the copyright infringement under 28 U.S.C. § 1331, 28 U.S.C. §
17
     1332, 17 U.S.C. § 501(a), and 28 U.S.C. § 1338(a).
18
             6.     Venue is proper in this District under 28 U.S.C. §§ 1391(b) and (c) and 28 U.S.C.
19
     § 1400(a) in that the claim arises in this Judicial District, the Defendants may be found and transact
20
     business in this Judicial District, a substantial part of the events or omissions giving rise to
21
     Plaintiff’s claims occurred in this Judicial District, and the injury suffered by Plaintiff took place
22
     in this Judicial District. Defendants are subject to the general and specific personal jurisdiction
23
     of this Court because of their contacts with the State of Washington, including but not limited to
24
     REI having its principle place of business in Kent, Washington, the sale of infringing products in
25
     the State of Washington and Krieg’s entering into a contractual relationship with REI to distribute
26
     the infringing products.


     COMPLAINT - 2                                                              GOLDFARB & HUCK
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 1
                                        STATEMENT OF FACTS
 2
                     Plaintiff and the Work Forming the Subject Matter of This Dispute
 3
            7.      Tony Hong is a prominent artist whose work has been featured in permanent public
 4
     installations, commercial projects, and solo showings. His work has been published in numerous
 5
     media outlets, including the Huffington Post, Professional Artist Magazine, and Christie’s Auction
 6
     Catalog, among many others, and his commercial clients include Apple, AT&T, Target, and
 7
     Verizon.
 8
            8.      Hong created “Tree Rings,” an illustration depicting fanciful inner-tree rings of a
 9
     tree trunk. Tree Rings has been selectively licensed to restaurants and displayed on public
10
     billboards and murals. The work has been timely registered with the United States Copyright
11
     Office. A copy of the registration is attached as Exhibit A.
12
                                 Defendants and Their Unlawful Activities
13
            9.      On information and belief, Defendant REI is a sporting goods and outdoor gear
14
     retail chain which was founded in 1938 and has over 154 retail locations. It grossed about $2.38
15
     billion in 2015. Aside from retail, REI sells products through its online website and through a print
16
     catalog, which on information and belief is distributed throughout the United States.
17
            10.     On information and belief, Defendant Krieg started doing business as Krieg USA
18
     in 1998. Krieg creates specialty climbing bags and saddlebags for bikes seats which merge
19
     function and style. Krieg touts that its products include “endless colors and patterns that are as
20
     unique and vibrant as your passion or next dream project.” Defendant Krieg sells its bags direct
21
     and also through retailers, including REI.
22
            11.     Currently, Krieg’s website features 80 climbing bags with similar structural
23
     features. The distinguishing feature on these bags is the design affixed to the body of the bag. At
24
     least two different editions of the bags sold by Krieg have affixed a version of “Tree Rings” as the
25
     featured design (referred to herein as the “Infringing Bags”), without consent or license. Attached
26
     as Exhibit B is a true and correct copy of screenshots of the Infringing Bags as shown on the Krieg


     COMPLAINT - 3                                                              GOLDFARB & HUCK
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 1
     website. The first of the Infringing Bags—known as the “Krieg Tree Rings Green Chalk Bag”—
 2
     features a reproduction of “Tree Rings” on the entire outer canvas of the bag. The second of the
 3
     Infringing Bags—known as the “Krieg Special K Chalk Bag – Bigfoot”—features a reproduction
 4
     of “Tree Rings” filling in the silhouette of a bigfoot-like creature repeated on the entire outer canvas
 5
     of the bag.
 6
              12.    Upon information and belief, Krieg entered into an agreement with REI to sell the
 7
     Infringing Bags through and/or to REI. REI has further distributed and sold the Infringing Bags
 8
     and has further reproduced, distributed, publicly displayed, and created derivative works of Tree
 9
     Rings through posting photos of the Infringing Bags on its website. Attached as Exhibit C is a true
10
     and correct copy of screenshots of the Infringing Bags as shown on the REI website.
11
              13.    Defendants used Hong’s Tree Rings to drive interest to their products and increase
12
     sales.   Thus, Defendants acted with the purpose and goal of financial gain, despite being
13
     sophisticated designers and retailers, with full knowledge of the strictures of federal copyright law
14
     and the basic requirements for licensing the use of copyrighted content for commercial
15
     exploitation.
16
                                      FIRST CLAIM FOR RELIEF
17                               (Copyright Infringement, 17 U.S.C. § 501)
18            14.    Plaintiff incorporates here by reference the allegations in paragraphs 1 through 13

19   above.

20            15.    Plaintiff is the rightsholder to the copyrights to “Tree Rings,” which consists of

21   wholly original material that constitutes copyrightable subject matter under the laws of the United

22   States. Plaintiff has complied in all respects with the Copyright Act and all of the laws of the

23   United States governing copyrights, including timely registering Hong’s “Tree Rings” with the

24   United States Copyright Office, Registration Number VA 002-022-677.

25            16.    Defendants have directly, vicariously and/or contributorily infringed, and

26



     COMPLAINT - 4                                                                GOLDFARB & HUCK
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 1
     unless enjoined, will continue to infringe Hong’s copyrights, by reproducing, displaying,
 2
     distributing and utilizing the Copyrighted Works for purposes of trade in violation of 17 U.S.C. §
 3
     501 et seq.
 4
            17.     Defendants have willfully infringed “Tree Rings” by knowingly reproducing,
 5
     displaying, distributing, creating derivative works thereof and utilizing it for purposes of trade.
 6
            18.     Defendants’ acts of infringement are willful because, inter alia, Defendants are
 7
     sophisticated designers and distributors of sporting goods with full knowledge of the strictures of
 8
     federal copyright law and the basic requirements for licensing the use of copyrighted content for
 9
     commercial exploitation, Defendants vigorously patrol and enforce their own intellectual property
10
     rights, and Defendants commercially exploited “Tree Rings” with knowledge of, or reckless
11
     indifference to, its copyright status and the need for a proper license for making such exploitation
12
     and proceeded anyway with obtaining appropriate clearance thereof.
13
            19.     On information and belief, Defendants, despite such knowledge, willfully
14
     reproduced, distributed, publicly displayed, and created derivative works of “Tree Rings.”
15
     Defendants have received substantial benefits in connection with the unauthorized reproduction,
16
     display, distribution and utilization of Tree Rings for purposes of trade, including by increased
17
     climbing bag sales without incurring design costs.
18
            20.     As a result of the acts of Defendants alleged herein, Hong has suffered substantial
19
     damage to his business in the form of injury to goodwill and reputation, and the dilution of the
20
     value of his rights, all of which are not yet fully ascertainable. Accordingly, Hong seeks a
21
     declaration that Defendants have infringed Hong’s copyrights and an order under 17 U.S.C. § 502
22
     enjoining Defendants from any further infringement of Hong’s copyrights.
23

24

25

26



     COMPLAINT - 5                                                               GOLDFARB & HUCK
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 1
                                    SECOND CLAIM FOR RELIEF
 2                       (Falsification of Copyright Management Information,
                            17 U.S.C. § 1202(a) et seq., against Defendants)
 3
              21.   Plaintiff incorporates here by reference the allegations in paragraphs 1 through 20
 4
     above.
 5
              22.   The name of, and other identifying information about, the author of a work and the
 6
     copyright owner of the work constitutes “copyright management information” (“CMI”) as defined
 7
     under 17 U.S.C. § 1202(c)(2) & (3).
 8
              23.   Hong’s Tree Rings is published with the name of the work, as well as Hong’s
 9
     authorship and ownership credit. In conjunction with Defendants’ creation of an unauthorized
10
     derivative version of “Tree Rings,” and its distribution and public display, Defendants falsified
11
     CMI, including the title, the authorship information and the ownership information, by making it
12
     appear as though Defendants were the true author and owner of “Tree Rings.”
13
              24.   As such, Hong is informed and believes and on that basis alleges that Defendants,
14
     without the knowledge or authority of Hong or the law, and with the intent to induce, enable,
15
     facilitate and/or conceal infringement of Hong’s copyright or, having reasonable grounds to know
16
     that it would induce, enable, facilitate and/or conceal infringement of Hong’s copyright,
17
     intentionally falsified and/or caused or induced others to falsify copyright management information
18
     from Hong’s “Tree Rings,” and/or distributed or imported Hong’s “Tree Rings” and/or caused or
19
     induced others to distribute or import Hong’s “Tree Rings” with knowledge of the falsification of
20
     Hong’s copyright management information, and/or distributed or imported for distribution “Tree
21
     Rings” with knowledge of the falsification of copyright management information in violation of
22
     17 U.S.C. § 1202(a)(1)-(3).
23
              25.   Defendants’ falsification of copyright management information for “Tree Rings”
24
     and subsequent distribution and public display of “Tree Rings” was and continues to be willful and
25

26



     COMPLAINT - 6                                                            GOLDFARB & HUCK
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 1
     intentional, and was and is executed with full knowledge of Hong’s rights under copyright law,
 2
     and in disregard of Hong’s rights.
 3
              26.   Hong is entitled to recover his actual damages suffered as a result of the violation
 4
     and any profits of Defendants attributable to the violation and not taken into account in computing
 5
     actual damages, or, at Hong’s election, statutory damages, pursuant to 17 U.S.C. § 1203(c), of up
 6
     to $25,000 per act of falsification.
 7
              27.   Hong is entitled to recover costs and attorneys’ fees from Defendants pursuant to
 8
     17 U.S.C. § 1203(b)(4) and (5).
 9
              28.   Defendants’ violation of 17 U.S.C. § 1202(a) has caused, and, unless restrained by
10
     this Court, will continue to cause, irreparable injury to Hong not fully compensable in monetary
11
     damages. Pursuant to 17 U.S.C. § 1203(b), Hong is entitled to a preliminary and permanent
12
     injunction enjoining Defendants from further such violations.
13
                                     THIRD CLAIM FOR RELIEF
14                          (Removal of Copyright Management Information,
                              17 U.S.C. § 1202(b) et seq., against Defendants)
15
              29.   Plaintiff incorporates here by reference the allegations in paragraphs 1 through 28
16
     above.
17
              30.   The name of, and other identifying information about, the author of a work and the
18
     copyright owner of the work constitutes “copyright management information” as defined under 17
19
     U.S.C. § 1202(c)(2) & (3).
20
              31.   By removing such CMI from its unauthorized version of “Tree Rings,” such as the
21
     Infringing Bags, Defendants knowingly mislead people as to the author and owner of Tree Rings
22
     and has attempted to cover up their own infringement.
23
              32.   As such, Hong is informed and believes and on that basis alleges that Defendants,
24
     without the knowledge or authority of Hong or the law, and with the intent to induce, enable,
25
     facilitate and/or conceal infringement of Hong’s copyright or, having reasonable grounds to know
26
     that it would induce, enable, facilitate and/or conceal infringement of Hong’s copyright,


     COMPLAINT - 7                                                            GOLDFARB & HUCK
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 1
     intentionally removed and/or caused or induced others to remove copyright management
 2
     information from Hong’s “Tree Rings,” and/or distributed or imported Hong’s “Tree Rings” and/or
 3
     caused or induced others to distribute or import Hong’s “Tree Rings” with knowledge of the
 4
     removal of Hong’s copyright management information, and/or distributed or imported for
 5
     distribution “Tree Rings” with knowledge of the removal of copyright management information in
 6
     violation of 17 U.S.C. § 1202(b)(1)-(3).
 7
            33.     Defendants’ removal and/or alteration of copyright management information for
 8
     Tree Rings and subsequent distribution and public display of “Tree Rings” was and continues to
 9
     be willful and intentional, and was and is executed with full knowledge of Hong’s rights under
10
     copyright law, and in disregard of Hong’s rights.
11
            34.     Hong is entitled to recover its actual damages suffered as a result of the violation
12
     and any profits of Defendants attributable to the violation and not taken into account in computing
13
     actual damages, or, at Hong’s election, statutory damages, pursuant to 17 U.S.C. § 1203(c), of up
14
     to $25,000 per act of removal.
15
            35.     Hong’s is entitled to recover costs and attorneys’ fees from Defendants pursuant to
16
     17 U.S.C. § 1203(b)(4) and (5).
17
            36.     Defendants’ violation of 17 U.S.C. § 1202(b) has caused, and, unless restrained by
18
     this Court, will continue to cause, irreparable injury to Hong not fully compensable in monetary
19
     damages. Pursuant to 17 U.S.C. § 1203(b), Hong is entitled to a preliminary and permanent
20
     injunction enjoining Defendants from further such violations.
21
                                         PRAYER FOR RELIEF
22
            WHEREFORE, Plaintiff requests judgment against Defendants as follows:
23
            1.      That the Defendants, their officers, agents, servants, employees, representatives,
24
     and attorneys, and all persons in active concert or participation with them, be permanently enjoined
25
     from designing, copying, reproducing, displaying, promoting, advertising, distributing, or selling,
26
     or any other form of dealing or transaction in, any and all advertising and promotional materials,


     COMPLAINT - 8                                                             GOLDFARB & HUCK
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 1
     print media, signs, Internet websites, or any other media, either now known or hereafter devised,
 2
     bearing any image or design which infringe, contributorily infringe, or vicariously infringe upon
 3
     Hong’s “Tree Rings”;
 4
               2.   For the entry of a seizure order directing the U.S. Marshall to seize and impound all
 5
     items possessed, owned or under the control of Defendants, their officers, agents, servants,
 6
     employees, representatives and attorneys, and all persons in active concert or participation with
 7
     them, which infringe upon Hong’s “Tree Rings” copyrights, including but not limited to any and
 8
     all broadcasting materials, advertising materials, print media, signs, Internet web sites, domain
 9
     names, computer hard drives, servers or any other media, either now known or hereafter devised,
10
     bearing any materials which infringe, contributorily infringe, or vicariously infringe upon Hong’s
11
     “Tree Rings” as well as all business records related thereto, including, but not limited to, lists of
12
     advertisers, clients, customers, viewers, distributors, invoices, catalogs, and the like.
13
               3.   For actual damages and disgorgement of all profits derived by Defendants from
14
     their acts of copyright infringement and to reimburse Hong for all damages suffered by Plaintiffs
15
     by reasons of Defendants’ acts, pursuant to 17 U.S.C. §§ 504 (a)(1) & (b), 1203(c)(1)(A) & (c)(2).
16
               4.   For an accounting of all profits, income, receipts or other benefit derived by
17
     Defendants from the reproduction, copying, display, promotion, distribution or sale of products
18
     and services, or other media, either now known or hereafter devised, that improperly or unlawfully
19
     infringe upon Plaintiff’s copyrights pursuant to 17 U.S.C. §§ 504 (a)(1) & (b), 1203(c)(1)(A) &
20
     (c)(2).
21
               5.   For statutory damages for copyright infringement, including willful infringement,
22
     in accordance with 17 U.S.C. §§ 504(a)(2) & (c), 1203(c)(1)(B) & (c)(3)(B).
23
               6.   For costs and interest pursuant to 17 U.S.C. §§ 504 (a)(1) & (b), 505, 1203(b)(4).
24
               7.   For reasonable attorneys’ fees incurred herein pursuant to 17 U.S.C. §§ 505,
25
     1203(b)(5).
26
               8.   For any such other and further relief as the Court may deem just and appropriate.


     COMPLAINT - 9                                                                GOLDFARB & HUCK
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 1         RESPECTFULLY SUBMITTED this 18th day of June, 2019.
 2
                                         GOLDFARB & HUCK ROTH RIOJAS, PLLC
 3
                                         /s/ Christopher M. Huck
 4                                       Christopher M. Huck, WSBA No. 34104
 5                                       /s/ R. Omar Riojas
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 6
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11                                       /s/ Joanna Ardalan
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12
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15                                                    jtehranian@onellp.com
16                                       Attorneys for Plaintiff,
                                         Tony Hong
17

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     COMPLAINT - 10                                                  GOLDFARB & HUCK
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 1                                  DEMAND FOR JURY TRIAL
 2         Plaintiff Hong hereby demands trial by jury of all issues so triable under the law.

 3
           RESPECTFULLY SUBMITTED this 18th day of June, 2019.
 4

 5                                               GOLDFARB & HUCK ROTH RIOJAS, PLLC
 6                                               /s/ Christopher M. Huck
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 7
                                                 /s/ R. Omar Riojas
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14                                               Joanna Ardalan (pro hac application to be filed)
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17                                               E-mail:      jardalan@onellp.com
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18
                                                 Attorneys for Plaintiff,
19                                               Tony Hong
20

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     COMPLAINT - 11                                                           GOLDFARB & HUCK
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